Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.403 Page 1 of 11




 1   CHET A. KRONENBERG (SBN: 222335)
     ckronenberg@stblaw.com
 2   LINDSAY A. DIMAGGIO (SBN: 329913)
     lindsay.dimaggio@stblaw.com
 3   SIMPSON THACHER & BARTLETT LLP
     1999 Avenue of the Stars, 29th Floor
 4   Los Angeles, California 90067
     Telephone: (310) 407-7500
 5   Facsimile: (310) 407-7502
 6
     Attorneys for Defendants Certain Underwriters
 7   at Lloyd’s, London, Syndicates 2623 and 623
 8
                          UNITED STATES DISTRICT COURT
 9
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     VIASAT, INC.,                               Case No. 3:22-CV-1169 JAH DDL
11
                 Plaintiff,                      DEFENDANTS’ OPPOSITION TO
12                                               VIASAT’S EX PARTE
           v.                                    APPLICATION FOR LEAVE TO
13                                               FILE A SUR-REPLY
     CERTAIN UNDERWRITERS AT
14   LLOYDS, LONDON, SYNDICATES
     2623 AND 623,                               Judge: Hon. John A. Houston
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                 Defendants.
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           DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.404 Page 2 of 11




 1                                            TABLE OF CONTENTS
 2
                                                                                                                       Page
 3
     PRELIMINARY STATEMENT ................................................................................. 1
 4
     ARGUMENT ............................................................................................................... 3
 5
              I.       VIASAT’S APPLICATION SHOULD BE DENIED BECAUSE
 6                     UNDERWRITERS’ REPLY DID NOT PRESENT NEW
                       EVIDENCE OR RAISE NEW ARGUMENTS ..................................... 3
 7
              II.      VIASAT’S APPLICATION IS UNTIMELY......................................... 4
 8
              III.     UNITED BRANDS IS IRRELEVANT BECAUSE PARTIES
 9                     CANNOT WAIVE SUBJECT MATTER JURISDICTION .................. 6
10   CONCLUSION............................................................................................................ 7
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
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                                                               -i-
             DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.405 Page 3 of 11




 1                                         TABLE OF AUTHORITIES
 2                                                                                                                Page(s)
 3   Cases
 4
     Appel v. Concierge Auctions, LLC,
 5     Case No. 17-CV-02263-BAS-MDD, 2018 U.S. Dist. LEXIS 63046
 6     (S.D. Cal. Apr. 13, 2018)...................................................................................... 3

 7   Certain Underwriters at Lloyd’s of London Syndicates v. Travelers
       Indem. Co.,
 8     Case No. C06-5238 RBL, 2006 U.S. Dist. LEXIS 49310 (W.D.
 9     Wash. Jul. 7, 2006) ............................................................................................... 1
10   Copelan v. Techtronics Industries Co., Inc.,
11     95 F. Supp. 3d 1230 (S.D. Cal. 2015) .................................................................. 6

12   Da Silva v. Kinsho International Corp,
       229 F.3d 358 (2d Cir. 2000) ................................................................................. 6
13
14   E.R. Squibb & Sons, Inc. v. Accident & Cas. Ins. Co.,
        160 F.3d 925 (2d Cir. 1998) ................................................................................. 1
15
     Edwards v. Toys ‘R’ US,
16     527 F. Supp. 2d 1197 (C.D. Cal. 2007) ................................................................ 3
17
     Finsa Portafolios v. Capital,
18      Case No. 2:17-cv-04360-SB-E, 2021 U.S. Dist. LEXIS 203294
19      (C.D. Cal. Apr. 21, 2021) ..................................................................................... 4

20   Harvey v. Advisors Mortg. Grp., LLC,
       Case No. 21-CV-1048 TWR (AGS), 2021 U.S. Dist. LEXIS 177638
21
       (S.D. Cal. Sep. 16, 2021) ...................................................................................... 4
22
     La Posta Brand of Diegueño Mission Indians of the La Posta
23      Reservation v. Trump,
24      Case No. 3:20-cv-01552-AJB-MSB, 2020 U.S. Dist. LEXIS 237643
        (S.D. Cal. Dec. 16, 2020) ..................................................................................... 4
25
     Maatuk v. Emerson Elec., Inc.,
26
       Case No. 1:16-CV-03023, 2019 U.S. Dist. LEXIS 23536 (N.D.
27     Ohio Feb. 13, 2019) .............................................................................................. 5
28
                                                              - ii -
             DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.406 Page 4 of 11




 1   Nat’l Fire Marine Ins. Co. v. Certain Underwriters at Lloyd’s London,
 2     Case No. C08-1836-JCC, 2009 U.S. Dist. LEXIS 138510 (W.D
       Wash. June 26, 2009) ........................................................................................... 1
 3
     Nguyen v. BMW of N. Am., LLC,
 4     Case No. 20-CV-2432, 2022 U.S. Dist. LEXIS 5657 (S.D. Cal. Jan.
 5     11, 2022) ............................................................................................................... 5
 6   PHL Variable Ins. Co. v. Cont’l Cas. Co.,
 7     Case No. 19-cv-06799-CRB, 2020 U.S. Dist. LEXIS 47929 (N.D.
       Cal. Mar. 18, 2020)............................................................................................... 1
 8
     Phoenix Process Equip. Co. v. Capital Equip. & Trading Corp.,
 9
       Case No. 3:16-CV-00024-CHB, 2022 U.S. Dist. LEXIS 140668
10     (W.D. Ky. July 18, 2022) ..................................................................................... 5
11   Raiser v. San Diego Cty.,
12      Case No. 19-cv-0751-GPC-KSC, 2021 U.S. Dist. LEXIS 92953
        (S.D. Cal. May 17, 2021) ..................................................................................... 3
13
     Rayon-Terrell v. Contra Costa Cty.,
14
       232 F. App'x 626 (9th Cir. 2007) ......................................................................... 3
15
     Richardson v. U.S.,
16      943 F.2d 1107 (9th Cir. 1991) .............................................................................. 6
17
     Terrell v. Contra Costa County,
18      232 Fed. Appx. 626 (9th Cir. 2007) ..................................................................... 3
19   U.S. Bank National Ass’n v. Edwards,
20      Case No. 3:16-cv-1307-AC, 2017 U.S. Dist. LEXIS 53689 (D. Or.
        Feb. 23, 2017) ....................................................................................................... 6
21
22   Zidell Marine Corp. v. Benefit Fire & Cas. Ins. Co.,
        Case No. 03-CV-05131-ORD, 2003 U.S. Dist. LEXIS 26253 (W.D.
23      Wash. Dec. 4, 2003) ............................................................................................. 6
24   Statutes
25
     28 U.S.C. § 1332........................................................................................................ 1
26
27
28
                                                                 - iii -
              DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.407 Page 5 of 11




 1                  Defendants Certain Underwriters at Lloyd’s of London (Syndicates
 2   2623 and 623) (collectively, “Underwriters”) hereby submit their opposition to the
 3   ex parte application filed by Plaintiff Viasat Inc. (“Viasat”) for leave to file a sur-
 4   reply.
 5                               PRELIMINARY STATEMENT
 6                  On August 31, 2022, Underwriters filed a motion to dismiss this action
 7   for lack of subject matter jurisdiction because courts within the Ninth Circuit treat
 8   each Name in a Syndicate as a separate entity for citizenship and amount in
 9   controversy purposes. 1 In support of their motion to dismiss, Underwriters
10   submitted a declaration from William Ross, a Cyber Claims Product Specialist at the
11   Beazley Group.2 With respect to the amount in controversy requirement, Mr. Ross
12   declared that one of the participants or Names has only $666.00 at risk under the
13   policy 3, which is well below the $75,000 threshold required under 28 U.S.C. § 1332.
14                  Viasat filed its opposition to Underwriters’ motion on September 28,
15   2022 and Underwriters filed their reply on October 5, 2022. Also on October 5,
16   2022, the Court issued an order deeming the matter suitable for adjudication without
17   oral argument and vacated the hearing on Underwriters’ motion that had been set for
18   October 12, 2022. Now, over five-and-a-half months after Underwriters filed their
19
20
     1
              See, e.g., PHL Variable Ins. Co. v. Cont’l Cas. Co., Case No. 19-cv-06799-
              CRB, 2020 U.S. Dist. LEXIS 47929, at **9-10 (N.D. Cal. Mar. 18,
21            2020)(“The prevailing trend, and the trend in California and in this District, is
              to adopt the Second Circuit’s treatment of Lloyd’s articulated in E.R. Squibb
22            & Sons, Inc. v. Accident & Cas. Ins. Co., 160 F.3d 925, 931 (2d Cir. 1998),
              which requires a court to consider the citizenship and amount in controversy
23            as to each Name for the purposes of diversity analysis.”) (collecting cases);
              Nat’l Fire Marine Ins. Co. v. Certain Underwriters at Lloyd’s London, Case
24            No. C08-1836-JCC, 2009 U.S. Dist. LEXIS 138510, at *6-7 (W.D Wash.
              June 26, 2009)(holding that “all Names [must] individually meet the amount
25            in controversy under 28 U.S.C. § 1332”); Certain Underwriters at Lloyd’s of
              London Syndicates v. Travelers Indem. Co., Case No. C06-5238 RBL, 2006
26            U.S. Dist. LEXIS 49310, at *6 (W.D. Wash. Jul. 7, 2006) (same).

27
     2
              ECF No. 7-2.

28
     3
              Id. at 2:22-27; see also ECF No. 7-1, at 9:4-10.

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              DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.408 Page 6 of 11




 1   reply, Viasat seeks leave to file a sur-reply to provide an example of a California
 2   federal court case—United Brands v. Certain Underwriters—where Underwriters
 3   did not challenge diversity jurisdiction. Viasat’s application should be denied for
 4   three reasons.
 5                First, while a court will not consider new evidence submitted for the
 6   first time in reply, evidence is not “new” if it is submitted in direct response to proof
 7   adduced in opposition to a motion. In Viasat’s opposition to Underwriters’ subject
 8   matter jurisdiction motion, Viasat cited two cases involving different insurance
 9   policies and policy years where Underwriters filed complaints in federal court
10   alleging diversity jurisdiction. In their reply, Underwriters responded by stating,
11   among other things, that the makeup of a syndicate from one year cannot be
12   attributed to other years because, as federal courts have noted, syndicates exist for
13   one year, dissolve and then reconstitute. Contrary to Viasat’s argument, this is not
14   “new” evidence. Rather, it is a direct response to an argument made by Viasat.
15   Moreover, United Brands, like the other two cases Viasat relied upon, does not
16   involve the same policy period at issue in this case. Accordingly, Viasat’s sur-reply
17   also does not offer any new argument that was not already part of its opposition.
18                Second, Viasat’s application is untimely. Viasat’s application to file a
19   sur-reply comes over five and a half months after Underwriters’ filed their reply in
20   further support of their motion for lack of subject matter jurisdiction on October 5,
21   2022. Courts have held that even a one month delay in seeking leave to file a sur-
22   reply is untimely. Viasat provides no explanation for its delay in seeking leave to
23   file a sur-reply other than that it only recently became aware of the United Brands
24   case. Furthermore, Underwriters consented to jurisdiction in their answer in the
25   United Brands case on February 24, 2022, nearly six months before Underwriters
26   filed their motion to dismiss for lack of subject matter jurisdiction on August 31,
27   2022. Therefore, Viasat could have cited United Brands in its opposition, which
28   makes its request for leave to file a sur-reply particularly baseless now.
                                               -2-
           DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.409 Page 7 of 11




 1                 Finally, because a defect in subject matter jurisdiction cannot be
 2   waived by parties, it does not matter what position on jurisdiction Underwriters may
 3   have taken in United Brands or any other case. Viasat is grasping at straws by
 4   citing other federal court cases involving Underwriters where subject matter
 5   jurisdiction has not been adjudicated because Underwriters have presented
 6   indisputable evidence that there is no subject matter jurisdiction in this case.
 7                                        ARGUMENT
 8   I.     VIASAT’S APPLICATION SHOULD BE DENIED BECAUSE
            UNDERWRITERS’ REPLY DID NOT PRESENT NEW EVIDENCE
 9          OR RAISE NEW ARGUMENTS
10                 “Neither the federal rules nor the local rules permit a sur-reply as a
11   matter of course.” Appel v. Concierge Auctions, LLC, Case No. 17-CV-02263-
12   BAS-MDD, 2018 U.S. Dist. LEXIS 63046, at *6 (S.D. Cal. Apr. 13, 2018). As a
13   general matter, sur-replies are “disfavor[ed]” because they often are a strategic effort
14   by the nonmoving party to have the last word on a matter. Raiser v. San Diego Cty.,
15   Case No. 19-cv-0751-GPC-KSC, 2021 U.S. Dist. LEXIS 92953, at *2 (S.D. Cal.
16   May 17, 2021) (noting that courts “thoroughly disfavor requests for sur-replies”).
17                 Courts only have discretion to permit a sur-reply if a party presents new
18   evidence or raises new arguments in a reply. Raiser, 2021 U.S. Dist. LEXIS 92953,
19   at **1-2. “Evidence is not ‘new,’ however, if it is submitted in direct response to
20   proof adduced in opposition to a motion.” Edwards v. Toys ‘R’ US, 527 F. Supp. 2d
21   1197, 1205 n.31 (C.D. Cal. 2007); see Rayon-Terrell v. Contra Costa Cty., 232 F.
22   App’x. 626, 628-29 & n.2 (9th Cir. 2007) (evidence adduced in reply was not new
23   where “[t]he Reply Brief addressed the same set of facts supplied in Terrell’s
24   opposition to the motion but provides the full context to Terrell’s selected recitation
25   of the facts.”).
26                 Here, in its opposition to Underwriters’ motion to dismiss for lack of
27   subject matter jurisdiction, Viasat cited two cases where Underwriters were
28   plaintiffs—Kleinberg & Lerner and CB Solutions—where Underwriters alleged that
                                                -3-
           DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.410 Page 8 of 11




 1   subject matter jurisdiction was present. ECF No. 11, at 7:13-25. In their reply,
 2   Underwriters stated, among other things, as follows:
 3                [T]he two complaints involve different policy years than the
                  policy at issue in this case, which is October 31, 2021 to
 4
                  October 31, 2022. . . . “Syndicates exist for one year,
 5                dissolve, and then reconstitute.” CNX Gas Co., 410 F.
                  Supp. 3d at 748. Accordingly, the makeup of a syndicate
 6
                  from one year cannot be attributed to other years.
 7
 8   ECF No. 15, at 7:20-25. While Viasat argues that the above-sentences constitute
 9   “new purported fact and a new argument” (ECF No. 30, at 1:11-23), the points made
10   by Underwriters plainly were in response to an argument made by Viasat in its
11   opposition. See La Posta Brand of Diegueño Mission Indians of the La Posta
12   Reservation v. Trump, Case No. 3:20-cv-01552-AJB-MSB, 2020 U.S. Dist. LEXIS
13   237643, at *13 (S.D. Cal. Dec. 16, 2020) (denying application to submit a sur-reply
14   because “the points made by La Posta in their reply brief [we]re in direct response to
15   arguments advanced by Defendants in the opposition.”).
16                Moreover, the policy period at issue in United Brands is “February 6,
17   2021 to February 6, 2022.” ECF No. 30-1, Ex. A at 21 of 63, ¶ 6. The policy in this
18   case, by contrast, is October 31, 2021 to October 31, 2022. ECF No. 7-2, at 2:10-
19   11. Because the policy periods differ, the evidence Viasat relies upon is cumulative
20   of the exact same arguments Viasat already made in its opposition. See Harvey v.
21   Advisors Mortg. Grp., LLC, Case No. 21-CV-1048 TWR (AGS), 2021 U.S. Dist.
22   LEXIS 177638, at *2 (S.D. Cal. Sep. 16, 2021) (denying ex parte application to file
23   a sur-reply where defendant sought to “re-iterate the same arguments previously
24   raised” in the defendant’s opposition).
25   II.   VIASAT’S APPLICATION IS UNTIMELY
26                Courts routinely deny applications for ex parte relief to file a sur-reply
27   where the motion is made 30 days or more after the reply brief has been filed, as
28   here. See Finsa Portafolios v. Capital, Case No. 2:17-cv-04360-SB-E, 2021 U.S.
                                               -4-
           DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.411 Page 9 of 11




 1   Dist. LEXIS 203294, at *3-4 (C.D. Cal. Apr. 21, 2021) (finding Plaintiffs’ delay of
 2   one month to seek ex parte relief to file a sur-reply was untimely); Nguyen v. BMW
 3   of N. Am., LLC, Case No. 20-CV-2432, 2022 U.S. Dist. LEXIS 5657, at *4, *6 (S.D.
 4   Cal. Jan. 11, 2022) (denying ex parte motion that was filed almost two months after
 5   briefing closed); Phoenix Process Equip. Co. v. Capital Equip. & Trading Corp.,
 6   Case No. 3:16-CV-00024-CHB, 2022 U.S. Dist. LEXIS 140668, at *12 (W.D. Ky.
 7   July 18, 2022) (“it defies logic that Defendants would be permitted twenty-eight
 8   days to request leave to file a sur-reply, four times as many days as Phoenix had to
 9   file its reply brief”); Maatuk v. Emerson Elec., Inc., Case No. 1:16-CV-03023, 2019
10   U.S. Dist. LEXIS 23536, at **2-3 (N.D. Ohio Feb. 13, 2019) (a “one-month delay in
11   seeking leave to file a sur-reply renders his motion untimely”).
12                Here, Viasat’s request that this Court grant it ex parte relief to file a
13   sur-reply comes over five and a half months after Underwriters filed their reply
14   brief on October 5, 2022. Viasat provides no explanation for its delay in seeking
15   leave to file a sur-reply other than that they “recently became aware” of the United
16   Brands case. ECF No. 30, at 1:19-24. Viasat misleadingly makes it seem like
17   something new happened in the United Brands case, pointing to a October 14, 2022
18   case management conference report—filed nine days after Underwriters filed their
19   reply on October 5, 2022—where the parties stated that the court had subject matter
20   jurisdiction. ECF No. 30-1, Ex. B at 52 of 63. However, Viasat fails to disclose
21   that Underwriters consented to jurisdiction in their answer in United Brands on
22   February 24, 20224—nearly six months before Underwriters filed their motion to
23   dismiss for lack of subject matter jurisdiction on August 31, 2022. Accordingly,
24   Viasat indisputably could have referenced the United Brands case in its opposition if
25   it wished to do so. In any event, it has been over five months since the parties in
26   4
           See United Brands Products Design Development & Marketing, Inc. v.
27         Certain Underwriters at Lloyd’s, London Denoted as Syndicate Numbers
           AFB 2623 and AFB 623, Case No. 4:22-cv-00649-TLT, ECF No. 12, at 3,
28         ¶ 5 (N.D. Cal.).

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           DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.412 Page 10 of 11




  1   United Brands filed their joint case management statement on October 14, 2022.
  2   Accordingly, Viasat’s application is untimely by any measure.
  3   III.   UNITED BRANDS IS IRRELEVANT BECAUSE PARTIES CANNOT
             WAIVE SUBJECT MATTER JURISDICTION
  4
  5                   Finally, Viasat’s waiver arguments are irrelevant because “subject
  6   matter jurisdiction” cannot be waived by parties, even if they took inconsistent
  7   positions on subject matter jurisdiction in the past. For example, in Da Silva v.
  8   Kinsho International Corp, 229 F.3d 358, 361 (2d Cir. 2000), the court held that
  9   “prior litigating positions do not preclude either side from asserting its current
 10   position since the issue of subject matter jurisdiction is one [courts] are required to
 11   consider, even if the parties have ignored it or . . . have switched sides on the issue.”
 12                   Ninth Circuit case law is in accord. See, e.g., Richardson v. U.S., 943
 13   F.2d 1107, 1113 (9th Cir. 1991) ("Subject matter jurisdiction cannot be conferred
 14   upon the courts by the actions of the parties and principles of estoppel and waiver do
 15   not apply."); Copelan v. Techtronics Industries Co, 95 F. Supp. 3d 1230, 1240 (S.D.
 16   Cal. 2015) (“The doctrine of judicial estoppel is an affirmative defense and does not
 17   apply to subject-matter jurisdiction. . . . Subject-matter jurisdiction, which refers to a
 18   tribunal’s power to hear a case, is a matter that can never be forfeited or waived.”);
 19   U.S. Bank National Ass’n v. Edwards, Case No. 3:16-cv-1307-AC, 2017 U.S. Dist.
 20   LEXIS 53689, at *3 (D. Or. Feb. 23, 2017) (“Traditional principles of estoppel do
 21   not apply to federal subject-matter jurisdiction; a party may challenge federal
 22   subject-matter jurisdiction despite taking a contradictory position earlier in
 23   litigation”).
 24                   Accordingly, it does not make any difference what positions
 25   Underwriters may have taken in United Brands or in any other case. See, e.g., Zidell
 26   Marine Corp. v. Benefit Fire & Cas. Ins. Co., Case No. 03-CV-05131-ORD, 2003
 27   U.S. Dist. LEXIS 26253, at **9-13, 23 (W.D. Wash. Dec. 4, 2003) (holding that
 28   diversity and amount in controversy must be satisfied by each Name in a Lloyd’s
                                                  -6-
             DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
Case 3:22-cv-01169-JAH-DDL Document 31 Filed 03/23/23 PageID.413 Page 11 of 11




  1   syndicate irrespective of the fact that “Lloyd’s-related parties . . . have flip-flopped
  2   from time-to-time on this issue”).
  3                                        CONCLUSION
  4                For the foregoing reasons, Viasat’s ex parte application to file a sur-
  5   reply should be denied.
  6
  7   Dated: March 23, 2023                   SIMPSON THACHER & BARTLETT LLP
  8
                                              By: /s/ Chet A. Kronenberg
  9                                               CHET A. KRONENBERG
 10                                           Attorneys for Defendants Certain
                                              Underwriters at Lloyd’s, London, Syndicates
 11                                           2623 and 623
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            DEFENDANTS’ OPPOSITION TO VIASAT’S EX PARTE APPLICATION TO FILE SUR-REPLY
